 4:08-cr-03177-RGK-CRZ    Doc # 40   Filed: 02/27/09   Page 1 of 1 - Page ID # 66




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
       Plaintiff,                     )    4:08CR3177
                                      )
       v.                             )
                                      )       ORDER
MELODY ANN WINTERS,                   )
                                      )
       Defendant.                     )


       IT IS ORDERED,

       Defendant’s motion to continue, filing no. 39, is granted
and,

     1. Trial of this matter is continued to 9:00 a.m.,
May 4, 2009, before the Honorable Richard G. Kopf in Courtroom 1,
United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. Jury selection will be held at
commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between February
27, 2009 and May 4, 2009 shall be deemed excludable time in any
computation of time under the requirements of the Speedy Trial
Act, for the reason that the parties require additional time to
adequately prepare the case, taking into consideration due
diligence of counsel, the novelty and complexity of the case, and
the fact that the failure to grant additional time might result
in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       Dated February 27, 2009.

                                     BY THE COURT


                                     s/David L. Piester
                                     David L. Piester
                                     United States Magistrate Judge
